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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )           8:12CR88
                      Plaintiff,              )
                                              )
       vs.                                    )             ORDER
                                              )
AMANDA G. WILLIAMS,                           )
                                              )
                  Defendant.                  )

       At the initial appearance of the defendant on the charges contained in the indictment
on file, the United States moved to detain the defendant without bail pending trial on the
basis that he was a flight risk and a danger to the community. At the time of his initial
appearance before the court, the defendant was in the custody of U.S. Marshal in the state
of Iowa. Accordingly,
       IT IS ORDERED:
       The government's motion for detention of Amanda G. Williams, pursuant to the Bail
Reform Act, is held in abeyance pending the defendant's coming into federal custody in the
state of Nebraska.
       IT IS FURTHER ORDERED:
       The defendant, Amanda G. Williams, received notice of his return to the custody of
Nebraska state authorities pending the disposition of this matter and having waived an
opportunity for hearing in this matter pursuant to the Interstate Agreement on Detainers, 18
U.S.C. app § 9(2). The U.S. Marshal is authorized to return the defendant to the custody of
the U.S. Marshals in the state of Iowa pending the final disposition of this matter and the
U.S. Marshal for the District of Nebraska is directed to place a detainer with the correctional
officer having custody of the defendant.
       DATED this 30th day of April, 2012.
                                                    BY THE COURT:


                                                    s/ F. A. Gossett
                                                    United States Magistrate Judge
